
BY THE COURT.
The third section of the act defining the duties of sheriffs and coroners, 29 O. L. 113, provides, that where a person who is charged with an offence shall abscond from the county, the *179sheriff, constable, or any other person, may pursue and apprehend the person so charged, remove him into the county where the offence is committed, and deliver him to a judge or justice, &amp;e., and it further provides that in such cases the auditor shall allow him out of the county treasury, the necessary expenses, and a reasonable compensation for his trouble, &amp;c. To entitle any person to this pay there must be a legal charge or complaint before pursuit, and not a mere intention to make a charge, in case the thief is apprehended. This is not such a case.
The writ is refused.
